989 F.2d 501
    NOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Frederick H. VERTREES, Defendant-Appellant.
    No. 92-3880.
    United States Court of Appeals, Sixth Circuit.
    March 25, 1993.
    
      Before:  KENNEDY, MARTIN and MILBURN, Circuit Judges.
    
    ORDER
    
      1
      This cause having come on to be heard upon the record, the briefs and the oral argument of the parties, and upon due consideration thereof, the court finds that there is substantial evidence to support the verdict of the jury and that no prejudicial error has intervened for reasons stated on record.
    
    
      2
      Accordingly, it is ORDERED that the judgment of the district court be and it hereby is affirmed.
    
    